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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF OHIO
                                           WESTERN DIVISION


United States of America,                                :
                                                         :
                 Plaintiff(s),                           :
                                                         :    Case Number: 1:13cr25-3
        vs.                                              :
                                                         :    Judge Susan J. Dlott
Frederck Benton, III,                                    :
                                                         :
                 Defendant(s).                           :

                                                     ORDER

        This matter is before the Court pursuant to the Order of General Reference in the United States

District Court for the Southern District of Ohio Western Division to United States Magistrate Judge Michael

R. Merz. Pursuant to such reference, the Magistrate Judge reviewed the pleadings and filed with this Court on

July 8, 2016 a Report and Recommendation (Doc. 610). Subsequently, the plaintiff filed objections to such

Report and Recommendation (Doc. 623).

        The Court has reviewed the comprehensive findings of the Magistrate Judge and considered de novo

all of the filings in this matter. Upon consideration of the foregoing, the Court does determine that such

Recommendation should be adopted.

        Accordingly, the §2255 motion is DISMISSED with prejudice. Reasonable jurists will not disagree

with this conclusion. Petitioner is denied a certificate of appealability and the Court certifies to the Sixth

Circuit that any appeal will be objectively frivolous and therefore will not be permitted to proceed in forma

pauperis.

        IT IS SO ORDERED.




                                                              ___s/Susan J. Dlott___________
                                                              Judge Susan J. Dlott
                                                              United States District Court
                 .
